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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                 *           MDL NO. 1873
FORMALDEHYDE                        *
PRODUCT LIABILITY                   *           SECTION “N-5"
LITIGATION                          *
                                    *           JUDGE ENGELHARDT
                                    *
THIS DOCUMENT RELATES TO            *           MAG. JUDGE CHASEZ
EARLINE CASTANEL, ET AL             *
v. RECREATION BY DESIGN, LLC        *
ET AL, DOCKET NO. 09-3251           *
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    RECREATION BY DESIGN, LLC’S REPLY MEMORANDUM IN SUPPORT OF
                  MOTION FOR ENTRY OF JUDGMENT

MAY IT PLEASE THE COURT:

       In her opposition, plaintiff concedes that defendant, Recreation by Design, LLC (“RBD”),

is entitled to the entry of Judgment with prejudice against her and that the only issue remaining to

be decided is that of the language pertaining to costs. [Rec. Doc. 14326, p.1]. Plaintiff further admits

that an award of costs to the prevailing party is “usual,” but requests the language of the Judgment

should somehow be modified to limit the costs to be awarded. This Court has recently addressed

similar arguments in the Wright v. Forest River matter in which the Court granted in part and denied

in part the judgment proposed by Forest River (Rec. Doc. 14338 and 14339). In that matter, the
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Court recognized as part of its ruling the right for the defendants to recover costs to later be

determined by the Clerk of Court. Accordingly, RBD requests that the Court recognize that part of

its ruling in the present matter and hold that RBD, as the prevailing party, is entitled to recover costs

to be determined by the Clerk of Court at a later date.

        In requesting that the Court follow its prior ruling that the defendant can seek to recover

costs, RBD points out that the proposed Judgment simply establishes RBD’s right to seek costs; it

does not specifically award any discreet amounts of costs, as that issue will be the subject of further

motion practice. Despite the fact that the plaintiff recognizes this fact in her opposition, she and the

Plaintiffs’ Steering Committee (“PSC”) attempt to raise arguments relating to the quantum of the

cost award rather than RBD’s right to seek such an award. As RBD is clearly the prevailing party

in this ligation, its right to recover taxable costs should be recognized and RBD’s proposed Judgment

entered.

        Plaintiff essentially raises two substantive arguments in response to RBD’s Motion for Entry

of Judgment: (1) that any costs awarded to RBD should be limited to those available under 28 U.S.C.

§ 1920, and (2) that the Court should use its broad discretion under the statute to assess cost against

the MDL plaintiff population and not against plaintiff individually. [Rec.Doc. 14326, pgs. 2 and 3].

Plaintiff’s argument, however, fails to account for this Honorable Court’s prior ruling in this MDL

allowing the recovery of costs which were likely outside the scope of U.S.C. § 1920. [See Rec. Doc.

12049.] Prematurely placing any limitation on the amount of costs taxable to the plaintiff may



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prove unduly confusing to the Clerk of Court when assessing the amount of such costs to be taxed

to the plaintiff and would run afoul of this Honorable Court’s prior ruling. To the extent that

plaintiff maintains that the enumerated costs under U.S.C. § 1920 are the only recoverable costs that

may be awarded, such arguments may be raised before the Clerk of Court through appropriate

motion practice and, as such, are premature at this time.

        Further, plaintiff states in her response that this Court has sound discretion in the imposition

of taxable costs in favor of the prevailing party. [Rec. Doc. 14326 p. 3]. As this Honorable Court

recognized in its ruling on the Motion to Tax Costs in the Alexander bellwether matter, “the Court

will not relieve any non-prevailing party in this litigation of the responsibility to pay costs after trial.”

[Rec. Doc. 13323, p. 2]. The same rationale is equally applicable here. RBD’s proposed Judgment

merely recognizes this right and allows, pursuant to the Court’s discretion, RBD to seek such costs

in the future. To the extent the plaintiff objects to the imposition of any specific cost award, the

Court can revisit these issues and, to the extent it deems any such costs unreasonable, modify the

cost award as it did in the Alexander matter. As the Court has noted, “the Clerk of Court has many

years of experience and is extremely well versed to consider what are/are not taxable costs.” [Rec.

Doc. 13323, p.1]. Given the Court’s confidence in the Clerk’s office, plaintiff has failed to

demonstrate how the language of RBD’s proposed Judgment would somehow cause the imposition

of an unreasonable cost award against her. Accordingly, RBD is entitled to, and respectfully moves

for, entry of its proposed Judgment, awarding to it all taxable costs.



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       Plaintiff’s final argument in opposition to the entry of judgment is that any taxable costs

ordered against the plaintiff should be assessed against the total plaintiff population. RBD realizes

that this Court ruled on a similar issue in Wright and held that it encourages plaintiff’s counsel to

pursue alternatives to spread costs amongst other individuals (Rec. Doc. 14338). However, RBD

respectfully submits that plaintiff’s argument on alternative cost spreading issue is premature and

something that should be addressed by the Court at a later point in time. Further, RBD respectfully

objects to cost sharing amongst a number of unnamed individuals/plaintiffs as any such allocation

would prove difficult, if not impossible, for RBD to execute a judgment against such a broad and

unknown group. Accordingly, RBD requests that a judgment for costs be entered against plaintiff

as set forth in the proposed judgment.

                                          CONCLUSION

       In light of the above and foregoing, it is uncontested that RBD is entitled to a judgment

dismissing plaintiff’s claims with prejudice and recognizing its right to seek taxable costs against

the plaintiff. Accordingly, RBD would respectfully request that this Honorable Court adopt the

jury’s verdict as the ruling of the Court and enter judgment dismissing plaintiff’s claims with

prejudice and assessing all taxable costs against plaintiff.




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                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2010, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system which will send a notice of this electronic filing to all
known counsel of record who are CM/ECF participants.

                                                      /s/Randall C. Mulcahy
                                                      RANDALL C. MULCAHY, Bar No. 26436




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